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                                 UNITED STATES DISTRICT COlJRT
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                                CENTRAL DISTRICT OF CALIFORNIA
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10   RAUL SANTANA SALGADO,                                                               CaseNo.EDCV 1O-1822-MMM (RNE)
11
                                       Petitioner.                                       ORDER ACCEPTING FINDINGS
12                                                                                       AND RECOMMENDATION
               vs.                                                                       OF UNITED STArES
13                                                                                       MAGISTRATE JUDGE
14   KATHY ALLISON, Warden,
15
                                       Respondent.
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18                         Pursuantto 28 U.S.C. § 636, the Court has reviewed the Petition, records
19   on file, and the Report and Recommendation of the United States Magistrate Judge.
20   Further, the Court has engaged in a de novo review of those portions of the Report
21   and Recommendation to which objections have been made. The Court accepts the
22   findings and recommendation of the Magistrate Judge.
23                         IT THEREFORE IS ORDERED that Judgment be entered denying the
24   Petition and dismissing this action with prejudice.
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26   DATED:                   SEP 3 0 2011                                                   ,/. \                 .
                                                                                         MARGARET M. MORROW
27                                                                                       UNITEfrSTATES DISTRICT JUDGE
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